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7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )            No. CR S 10-0223 JAM
                                   )
12                   Plaintiff,    )            STIPULATION AND
                                   )            ORDER FOR CONTINUANCE OF
13        v.                       )            STATUS CONFERENCE
                                   )
14   CONNIE DEVERS,                )
                                   )            Date: March 19, 2013
15                  Defendant.     )            Time: 9:45 a.m.
     ______________________________)            Hon. John A. Mendez
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17
           It is hereby stipulated and agreed to between the United States
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     of America and defendant Connie Devers, by and through their
19
     respective counsel, that the status conference in the above-
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     captioned matter set for Tuesday, February 26, 2013, be continued to
21
     Tuesday, March 19, 2013 at 9:45 a.m.
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           The parties request that the Court exclude from calculation
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     under the Speedy Trial Act the time from the date of the originally
24
     set status conference, February 26, 2013, through the date of the
25
     status conference set for March 19, 2013, pursuant to 18 U.S.C. §
26
     3161(h)(4) [defendant physically unable to stand trial] (Local Code
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     N).   Counsel for Ms. Devers and the government are in the process of
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1    securing an update as to her physical condition and prognosis and
2    require more time to do so.
3    IT IS SO STIPULATED.
4
5    DATE: February 22, 2013           By:        /s/ Philip A. Ferrari
                                                 PHILIP A. FERRARI
6                                                Assistant U.S. Attorney
7    DATE: February 22, 2013           By:        /s/ Philip A. Ferrari for
                                                 MARK REICHEL
8                                                Counsel for Defendant
                                                 CONNIE DEVERS
9
10        IT IS ORDERED that the status conference currently set for
11   February 26, 2013, is vacated, and a new status conference is set
12   for March 19, 2013, at 9:45 a.m.        For the reasons stipulated to by
13   the parties, good cause exists pursuant to 18 U.S.C. §§ 3161(h)(4),
14   and time is excluded under the Speedy Trial Act through March 19,
15   2013, pursuant to local code N.      For the reasons set forth in the
16   stipulation, the interests of justice served by granting this
17   continuance outweigh the best interests of the public and the
18   defendant in a speedy trial.
19
          IT IS SO FOUND AND ORDERED.
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     DATED: 2/22/2013
22                                               /s/ John A. Mendez
                                                 U. S. DISTRICT COURT JUDGE
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